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Fill in this information to identify the case:
Debtor name: MAC HOLDING LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12226

                                                                                                                            ¨ Check if this is an
                                                                                                                                  amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                   04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:    Income

1. Gross revenue from business
    ¨ None
     Identify the beginning and ending dates of the debtor’s fiscal year,       Sources of revenue                  Gross revenue
     which may be a calendar year                                               (Check all that apply)              (before deductions and
                                                                                                                    exclusions)


     From the beginning of the
                                         From 12/27/2016 to 10/17/2017
                                                                                ¨ Operating a business              $0.00
     fiscal year to filing date:
                                                                                ¨ Other _________________

     For prior year:                     From 12/29/2015 to 10/31/2016
                                                                                ¨ Operating a business              $0.00
                                                                                ¨ Other _________________

     For the year before that:           From 4/17/2015 to 11/2/2015
                                                                                ¨ Operating a business              $0.00
                                                                                ¨ Other _________________


2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
    lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    þ None
                                                                                Description of sources of           Gross revenue from
                                                                                revenue                             each source
                                                                                                                    (before deductions and
                                                                                                                    exclusions)

     From the beginning of the
                                         From __________ to __________          _________________________           $___________________
     fiscal year to filing date:


                                         From __________ to __________          _________________________           $___________________


                                         From __________ to __________          _________________________           $___________________




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Debtor       MAC HOLDING LLC                                                                                              Case number (if known) 17-12226



 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days
       before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
       adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       þ None
         Creditor’s name and address                                 Dates         Total amount or value        Reasons for payment or transfer
                                                                                                                Check all that apply

3.1.     __________________________________________                  _________ $__________________              ¨ Secured debt
         __________________________________________
         __________________________________________                                                             ¨ Unsecured loan repayments
         __________________________________________                                                             ¨ Suppliers or vendors
                                                                                                                ¨ Services
                                                                                                                ¨ Other _______________


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
       guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
       $6,425.00. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
       adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
       and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
       managing agent of the debtor. 11 U.S.C. § 101(31).

       þ None
         Insider’s name and address                                  Dates         Total amount or value        Reasons for payment or transfer

4.1.     __________________________________________                  _________ $__________________              ________________________________
         __________________________________________
         __________________________________________
         __________________________________________
         Relationship to debtor
         __________________________________________




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed
       by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property
       listed in line 6.

       þ None
         Creditor’s name and address                          Description of the property                         Date                   Value of property

5.1.     _____________________________________                _____________________________________               ________________ $______________
         _____________________________________
         _____________________________________
         _____________________________________




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Debtor       MAC HOLDING LLC                                                                                              Case number (if known) 17-12226




6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
       account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
       debtor owed a debt.

       þ None
         Creditor’s name and address                  Description of the action creditor took                     Date action was        Amount
                                                                                                                  taken

6.1.     ________________________________             __________________________________________                  ________________ $______________
         ________________________________
         ________________________________
         ________________________________             Last 4 digits of account number: XXXX–__________




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Debtor      MAC HOLDING LLC                                                                                            Case number (if known) 17-12226



 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.

       þ None
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.1.     _____________________________           _____________________________           ________________________________            ¨ Pending
                                                                                         ________________________________
         Case number                                                                     ________________________________            ¨ On appeal
         _____________________________
                                                                                         ________________________________            ¨ Concluded


8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       þ None
         Custodian's name and address                     Description of the property                     Value

8.1.     ___________________________________              ___________________________________             $_________________________________
         ___________________________________
         ___________________________________              Case title                                      Court name and address
         ___________________________________
                                                          ___________________________________             ___________________________________
                                                                                                          ___________________________________
                                                          Case number                                     ___________________________________
                                                                                                          ___________________________________
                                                          ___________________________________
                                                          Date of order or assignment
                                                          ___________________________________




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Debtor     MAC HOLDING LLC                                                                             Case number (if known) 17-12226



 Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
   aggregate value of the gifts to that recipient is less than $1,000.
       þ None
        Recipient’s name and address                Description of the gifts or contributions    Dates given       Value

9.1.    _____________________________________       _____________________________________        ________________ $______________
        _____________________________________
        _____________________________________
        _____________________________________
        Recipient’s relationship to debtor
        _____________________________________




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Debtor     MAC HOLDING LLC                                                                                  Case number (if known) 17-12226



 Part 5:    Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
         Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
         the loss occurred                                                                                              lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance, government
                                                    compensation, or tort liability, list the total
                                                    received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.1.    _____________________________________      $___________________________________              _______________ $_____________




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Debtor     MAC HOLDING LLC                                                                                           Case number (if known) 17-12226



 Part 6:    Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
    the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
    seeking bankruptcy relief, or filing a bankruptcy case.

    ¨ None
         Who was paid or who received the                 If not money, describe any property                Dates                Total amount or
         transfer?                                        transferred                                                             value

11.1.    SEE RESPONSE TO QUESTION 11                      _____________________________________              _______________ $_____________
         PROVIDED BY MAC ACQUISITION LLC
         Address


         Email or website address
         _____________________________________
         Who made the payment, if not debtor?
         _____________________________________




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
    this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

    þ None
         Name of trust or device                          Describe any property transferred                  Dates transfers      Total amount or
                                                                                                             were made            value

12.1.    _____________________________________            _____________________________________              _______________ $_____________
         Trustee
         _____________________________________
         _____________________________________
         _____________________________________
         _____________________________________




13. Transfers not already listed on this statement
    List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

    þ None




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         Who received transfer?                    Description of property transferred or     Date transfer     Total amount or
                                                   payments received or debts paid in         was made          value
                                                   exchange

13.1.    _____________________________________     _____________________________________      _______________ $_____________
         Address
         _____________________________________
         _____________________________________
         _____________________________________
         _____________________________________
         Relationship to debtor
         _____________________________________




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 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    ¨ Does not apply
         Address                                                                                   Dates of occupancy

14.1.    1855 BLAKE ST.                                                                            From 4/20/2017 To CURRENT
         SUITE 200
         DENVER CO 80202

         Address                                                                                   Dates of occupancy

14.2.    3100 SOUTH GESSNER RD                                                                     From 4/17/2015 To 4/20/2017
         SUITE 125
         HOUSTON TX 77063

         Address                                                                                   Dates of occupancy

14.3.    9900 WESTPARK DRIVE                                                                       From 4/9/2013 To 4/16/2015
         SUITE 300
         HOUSTON TX 77063




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 Part 8:    Healthcare Bankruptcies

15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    — diagnosing or treating injury, deformity, or disease, or
    — providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
         Facility name and address                 Nature of the business operation, including type of             If debtor provides meals and
                                                   services the debtor provides                                    housing, number of patients
                                                                                                                   in debtor’s care

15.1.    _______________________________           _______________________________________________                 __________________________
         _______________________________
         _______________________________           Location where patient records are maintained (if               How are records kept?
         _______________________________           different from facility address). If electronic, identify any
                                                   service provider                                                Check all that apply:

                                                   _______________________________________________                 ¨ Electronically
                                                   _______________________________________________
                                                   _______________________________________________
                                                                                                                   ¨ Paper
                                                   _______________________________________________




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Debtor     MAC HOLDING LLC                                                                             Case number (if known) 17-12226



 Part 9:    Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
    þ No
    ¨ Yes. State the nature of the information collected and retained. _______________________________________________________
            Does the debtor have a privacy policy about that information?

            ¨ No
            ¨ Yes


17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b)
    or other pension or profit-sharing plan made available by the debtor as an employee benefit?
    þ No. Go to Part 10.
    ¨ Yes. Does the debtor serve as plan administrator?
          ¨ No. Go to Part 10
          ¨ Yes. Fill in below:
                Name of plan                                                             Employer identification number of the plan

                ____________________________________________________________             EIN: __ __-__ __ __ __ __ __ __

                Has the plan been terminated?

                ¨ No
                ¨ Yes




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Debtor    MAC HOLDING LLC                                                                                              Case number (if known) 17-12226



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

    þ None
         Financial institution name and             Last 4 digits of account      Type of account                Date account          Last balance
         address                                    number                                                       was closed, sold,     before closing
                                                                                                                 moved, or             or transfer
                                                                                                                 transferred

18.1.    _______________________________            XXX-__________                ¨ Checking                     _______________ $____________
         _______________________________
         _______________________________                                          ¨ Savings
         _______________________________                                          ¨ Money market
                                                                                  ¨ Brokerage
                                                                                  ¨ Other ____________


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

    þ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

19.1.    ______________________________            ______________________________             _____________________________            ¨ No
         ______________________________            ______________________________
         ______________________________            ______________________________                                                      ¨ Yes
         ______________________________            ______________________________




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

    þ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

20.1.    ______________________________            ______________________________             _____________________________            ¨ No
         ______________________________            ______________________________
         ______________________________            ______________________________                                                      ¨ Yes
         ______________________________            ______________________________




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 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
    trust. Do not list leased or rented property.

    þ None
         Owner’s name and address                         Location of the property            Description of the property         Value

21.1.    _____________________________________            __________________________ __________________________ $_____________
         _____________________________________
         _____________________________________
         _____________________________________




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Debtor      MAC HOLDING LLC                                                                                             Case number (if known) 17-12226



    Part 12: Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
■     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
■     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
      formerly owned, operated, or utilized.
■     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or
      a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
    settlements and orders.
      þ No
      ¨ Yes. Provide details below.
          Case title                                  Court or agency name and address            Nature of the case                   Status of case

22.1.     _______________________________             _______________________________             __________________________           ¨ Pending
                                                      _______________________________
          Case number                                 _______________________________                                                  ¨ On appeal
          _______________________________
                                                      _______________________________                                                  ¨ Concluded


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

23.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




24. Has the debtor notified any governmental unit of any release of hazardous material?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

24.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




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 Part 13: Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

    ¨ None
         Business name and address                     Describe the nature of the business           Employer Identification number
                                                                                                     Do not include Social Security number or ITIN.

25.1.    MAC ACQUISITION LLC                           CASUAL DINING                                 EIN: XX-XXXXXXX
         1855 BLAKE ST
         STE 200                                                                                     Dates business existed
         DENVER CO 80206
                                                                                                     From 7/1/2008 To Present

         Business name and address                     Describe the nature of the business           Employer Identification number
                                                                                                     Do not include Social Security number or ITIN.

25.2.    MACARONI GRILL SERVICES LLC                   CASUAL DINING                                 EIN: XX-XXXXXXX
         1855 BLAKE ST
         STE 200                                                                                     Dates business existed
         DENVER CO 80206
                                                                                                     From 11/13/2015 To Present




26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

    ¨ None
         Name and address                                                                             Dates of service

26a.1.   DAVID M. GODFREY                                                                             From 4/9/2015 To Present
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

    þ None
         Name and address                                                                             Dates of service

26b.1.   ____________________________________________________________________                         From ______________ To ______________
         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________




26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

    ¨ None
         Name and address                                                                             If any books of account and records are
                                                                                                      unavailable, explain why

26c.1.   DAVID M. GODFREY                                                                             ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202




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26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

    þ None
          Name and address

26d.1.    ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________




27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

    þ No
    ¨ Yes. Give the details about the two most recent inventories.
         Name of the person who supervised the taking of the inventory                   Date of inventory     The dollar amount and basis (cost,
                                                                                                               market, or other basis) of each
                                                                                                               inventory

27.1.    __________________________________________________________                      _______________ $_____________________________
         Name and address of the person who has possession of inventory
         records
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling
    shareholders, or other people in control of the debtor at the time of the filing of this case.
         Name and address                           Position                                Nature of any interest                % of interest, if any

28.1.    DEAN A. RIESEN                             CO-CFO                                  N/A                                   _________________
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                           Position                                Nature of any interest                % of interest, if any

28.2.    JEFFREY MEYER                              ASSISTANT SECRETARY                     N/A                                   _________________
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                           Position                                Nature of any interest                % of interest, if any

28.3.    MAC PARENT LLC                             N/A                                     MEMBERSHIP INTEREST                   100.00%
         1855 BLAKE ST.
         STE 200
         DENVER CO 80202




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Debtor    MAC HOLDING LLC                                                                                           Case number (if known) 17-12226

         Name and address                          Position                               Nature of any interest               % of interest, if any

28.4.    MAURY L. CUJE                             ASSISTANT SECRETARY                    N/A                                  _________________
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                          Position                               Nature of any interest               % of interest, if any

28.5.    NISHANT MACHADO                           PRESIDENT, CEO, CHIEF                  N/A                                  _________________
         1855 BLAKE ST.                            RESTRUCTURING OFFICER
         SUITE 200
         DENVER CO 80202

         Name and address                          Position                               Nature of any interest               % of interest, if any

28.6.    PASQUALE MATURO                           CO-CFO AND TREASURER                   N/A                                  _________________
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
    partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
    positions?
    ¨ No
    þ Yes. Identify below.
         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.1.    ALIX UDELSON                       ASSISTANT CORPORATE                 N/A                                 From 5/11/2016 To 1/8/2017
         500 DALLAS ST                      SECRETARY
         STE 3000
         HOUSTON TX 77002

         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.2.    DEAN A RIESEN                      CFO/TREASURER                       N/A                                 From 4/17/2015 To 5/30/2017
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.3.    JOHN F. GILBERT III                PRESIDENT & CEO                     N/A                                 From 4/17/2015 To 5/30/2017




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

    þ No
    ¨ Yes. Identify below




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Debtor    MAC HOLDING LLC                                                                            Case number (if known) 17-12226

         Name and address of recipient       Amount of         Description of property Dates                 Reason for providing
                                             money or value                                                  the value
                                             of property

30.1.    _______________________________     $_____________    ____________________ _______________ ____________________
         _______________________________
         _______________________________
         _______________________________
         Relationship to debtor
         _______________________________




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    ¨ No
    þ Yes. Identify below
         Name of the parent corporation                                    Employer Identification number of the parent
                                                                           corporation

31.1.    REDROCK PARTNERS, LLC                                             EIN: XX-XXXXXXX




32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension
    fund?
    þ No
    ¨ Yes. Identify below
         Name of the pension fund                                          Employer Identification number of the pension fund

32.1.    __________________________________________________________        EIN: __ __-__ __ __ __ __ __ __
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________




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Debtor      MAC HOLDING LLC                                                                                                 Case number (if known) 17-12226



 Part 14: Signature and Declaration

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
    is true and correct.

    I declare under penalty of perjury that the foregoing is true and correct.


                           11/17/2017
                           MM/DD/YYYY




    û_/s/ Nishant Machado___________________________________________ Printed name Nishant Machado
         Signature of individual signing on behalf of the debtor




         Position or relationship to debtor                        President, CEO and Chief Restructuring Officer


    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    þ No
    ¨ Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          Page 19
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-12224 (MFW)
                                         1
MAC ACQUISITION LLC, et al.,
                                                           (Jointly Administered)
                                   Debtors.


                  GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        Mac Acquisition LLC, Mac Parent LLC, Mac Holding LLC, Mac Acquisition of New
Jersey LLC, Mac Acquisition of Kansas LLC, Mac Acquisition of Anne Arundel County LLC,
Mac Acquisition of Frederick County LLC, Mac Acquisition of Baltimore County LLC, and
Macaroni Grill Services LLC (collectively, the “Debtors”) with the assistance of their advisors,
have filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements
of Financial Affairs (the “Statements,” and together with the Schedules, the “Schedules and
Statements”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

       These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor (whether
publically filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.

1    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Mac
Acquisition LLC (6362); Mac Parent LLC (6715); Mac Holding LLC (6682); Mac Acquisition of New Jersey LLC
(1121); Mac Acquisition of Kansas LLC (3910); Mac Acquisition of Anne Arundel County LLC (6571); Mac
Acquisition of Frederick County LLC (6881); Mac Acquisition of Baltimore County LLC (6865); and Macaroni
Grill Services LLC (5963). The headquarters for the above-captioned Debtors is located at 1855 Blake St., Ste. 200,
Denver, CO 80202.
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       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.

        The Debtors and their officers, employees, agents, attorneys and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors
and their officers, employees, agents, attorneys and financial advisors expressly do not undertake
any obligation to update, modify, revise or re-categorize the information provided in the
Schedules and Statements or to notify any third party should the information be updated,
modified, revised or re-categorized. The Debtors, on behalf of themselves, their officers,
employees, agents and advisors disclaim any liability to any third party arising out of or related
to the information contained in the Schedules and Statements and reserve all rights with respect
thereto.

        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and
professionals. The representative has not (and could not have) personally verified the accuracy of
each such statement and representation, including, for example, statements and representations
concerning amounts owed to creditors and their addresses.

                         Global Notes and Overview of Methodology

1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
   accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
   Debtors reserve all rights to amend or supplement the Schedules and Statements from time to
   time, in all respects, as may be necessary or appropriate, including, without limitation, the
   right to amend the Schedules and Statements with respect to claim (“Claim”) description,
   designation, or Debtor against which the Claim is asserted; dispute or otherwise assert offsets
   or defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
   priority, status, or classification; subsequently designate any Claim as “disputed,”
   “contingent,” or “unliquidated;” or object to the extent, validity, enforceability, priority, or
   avoidability of any Claim. Any failure to designate a Claim in the Schedules and Statements
   as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
   Debtors that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.”
   Listing a Claim does not constitute an admission of liability by the Debtor against which the
   Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
   Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’
   chapter 11 cases, including, without limitation, issues involving Claims, substantive
   consolidation, defenses, equitable subordination, recharacterization, and/or causes of action
   arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-

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   bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
   contained elsewhere in the Global Notes does not limit in any respect the general reservation
   of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
   required to update the Schedules and Statements.

   The listing in the Schedules or Statements (including, without limitation, Schedule A/B,
   Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and another
   Debtor is a statement of what appears in the Debtors’ books and records and does not reflect
   any admission or conclusion of the Debtors regarding whether such amount would be
   allowed as a Claim or how such obligations may be classified and/or characterized in a plan
   of reorganization or by the Bankruptcy Court.

2. Description of Cases and “as of” Information Date. On October 18, 2017 (the “Petition
   Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
   Code. The Debtors are operating their businesses and managing their properties as debtors in
   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On October 19,
   2017, the Bankruptcy Court entered an order directing procedural consolidation and joint
   administration of the Debtors’ chapter 11 cases [Docket No. 39].

   The asset information provided in the Schedules and Statements, except as otherwise
   noted, represents the asset data of the Debtors as of the close of business on September
   25, 2017, and the liability information provided herein, except as otherwise noted,
   represents the liability data of the Debtors as of the close of business on October 17,
   2017.

3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and an
   inefficient use of estate assets for the Debtors to obtain current market valuations for all of
   their assets as of the Petition Date. Accordingly, unless otherwise indicated, the Debtors’
   Schedules and Statements reflect net book values as of the period ended August 31, 2017, as
   set forth in the Debtors’ books and records. Additionally, because the book values of certain
   assets, such as patents, trademarks, and copyrights, may materially differ from their fair
   market values, they may be listed as undetermined amounts as of the Petition Date.
   Furthermore, as applicable, assets that have fully depreciated or were expensed for
   accounting purposes may not appear in the Schedules and Statements if they have no net
   book value.

4. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
   characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
   unexpired leases and other items reported in the Schedules and Statements, the Debtors may,
   nevertheless, have improperly characterized, classified, categorized, designated (including as
   “disputed,” “contingent,” “unliquidated,” and “subject to set-off”), or omitted certain items
   or designations due to the complexity and size of the Debtors’ businesses. Accordingly, the
   Debtors reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add
   or delete items reported in the Schedules and Statements at a later time as is necessary or
   appropriate as additional information becomes available, including, without limitation,
   whether contracts or leases listed herein were deemed executory or unexpired as of the
   Petition Date and remain executory and unexpired postpetition.

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5. Real Property and Personal Property–Leased. In the ordinary course of their businesses,
   the Debtors lease real property and various articles of personal property, including, fixtures,
   and equipment, from certain third-party lessors. The Debtors have made reasonable efforts
   to list all such leases in the Schedules and Statements. The Debtors have included on
   Schedule D (secured debt) lease obligations to the extent the lessor filed a UCC-1. However,
   nothing in the Schedules or Statements is or shall be construed as an admission or
   determination as to the legal status of any lease (including whether to assume and assign or
   reject such lease or whether it is a true lease or a financing arrangement).

6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between the
   prepetition and post-petition periods based on the information and research conducted in
   connection with the preparation of the Schedules and Statements. As additional information
   becomes available and further research is conducted, the allocation of liabilities between the
   prepetition and post-petition periods may change.

   The liabilities listed on the Schedules do not reflect any analysis of Claims under section
   503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
   dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
   Bankruptcy Code.

   The Debtors have excluded certain categories of assets, tax accruals, and liabilities from the
   Schedules and Statements, including, without limitation, goodwill, accrued salaries,
   employee benefit accruals, and deferred gains. In addition, certain immaterial assets and
   liabilities may have been excluded.

   The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
   outstanding prepetition Claims on a post-petition basis. However, prepetition liabilities
   related to ordinary course wages and compensation and certain trade claim may have been
   excluded from the Schedules to the extent their Claims have been paid post-petition.

7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
   “insiders” to include the following: (a) directors and limited liability company managers; (b)
   senior level officers; (c) equity holders holding in excess of 5% of the voting securities of the
   Debtor entities; (d) Debtor affiliates; and (e) relatives of any of the foregoing (to the extent
   known by the Debtors). Entities listed as “insiders” have been included for informational
   purposes and their inclusion shall not constitute an admission that those entities are insiders
   for purposes of section 101(31) of the Bankruptcy Code.

8. Intellectual Property Rights. The exclusion of any intellectual property shall not be
   construed as an admission that such intellectual property rights have been abandoned,
   terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
   acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall
   not be construed to be an admission that such intellectual property rights have not been
   abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to
   a sale, acquisition, or other transaction.



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   In addition, although the Debtors have made diligent efforts to attribute intellectual property
   to the rightful Debtor entity, in certain instances, intellectual property owned by one Debtor
   may, in fact, be owned by another Debtor or a non-Debtor, or vice versa. Accordingly, the
   Debtors reserve all of their rights with respect to the legal status of any and all such
   intellectual property rights.

9. Executory Contracts and Unexpired Leases. Although the Debtors made diligent attempts
   to attribute executory contracts and unexpired leases to their rightful Debtors, in certain
   instances, the Debtors may have inadvertently failed to do so due to the complexity and size
   of the Debtors’ businesses.

   Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have not
   necessarily set forth executory contracts and unexpired leases as assets in the Schedules and
   Statements, even though these contracts and leases may have some value to the Debtors’
   estates. The Debtors’ executory contracts and unexpired leases have been set forth in
   Schedule G.

10. Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
    may not have listed all of their causes of action or potential causes of action against
    third-parties as assets in the Schedules and Statements, including, without limitation, causes
    of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
    relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
    their rights with respect to any cause of action (including avoidance actions), controversy,
    right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for
    breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
    guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
    license, and franchise of any kind or character whatsoever, known, unknown, fixed or
    contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
    disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
    arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
    pursuant to any other theory of law (collectively, “Causes of Action”) they may have, and
    neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any
    Claims or Causes of Action or in any way prejudice or impair the assertion of such Claims or
    Causes of Action.

11. Summary of Significant Reporting Policies. The following is a summary of significant
    reporting policies:

               a.      Undetermined Amounts. The description of an amount as
                       “unknown,” “TBD” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules and
                       Statements represent totals of all known amounts. To the
                       extent there are unknown or undetermined amounts, the
                       actual total may be different than the listed total.


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               c.       Liens. Property and equipment listed in the Schedules and
                        Statements are presented without consideration of any liens
                        that may attach (or have attached) to such property and
                        equipment.

12. Estimates and Assumptions. Because of the timing of the filings, management was
    required to make certain estimates and assumptions that affected the reported amounts of
    these assets and liabilities. Actual amounts could differ from those estimates, perhaps
    materially.

13. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

14. Intercompany. The listing in the Schedules or Statements (including, without limitation,
    Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor and
    another Debtor is a statement of what appears in the Debtors’ books and records and does not
    reflect any admission or conclusion of the Debtors regarding whether such amount would be
    allowed as a Claim or how such obligations may be classified and/or characterized in a plan
    of reorganization or by the Bankruptcy Court.

15. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course
    of business. Offsets in the ordinary course can result from various items, including, without
    limitation, intercompany transactions, pricing discrepancies, returns, refunds, warranties,
    debit memos, credits, and other disputes between the Debtors and their suppliers and/or
    customers. These offsets and other similar rights are consistent with the ordinary course of
    business in the Debtors’ industry and are not tracked separately. Therefore, although such
    offsets and other similar rights may have been accounted for when certain amounts were
    included in the Schedules, offsets in the ordinary course of business are not independently
    accounted for, and as such, may be excluded from the Debtors’ Schedules and Statements.

16. Global Notes Control. If the Schedules and Statements differ from these Global Notes, the
    Global Notes shall control.

                    Specific Disclosures with Respect to the Debtors’ Schedules

Schedule A/B. Other than real property leases reported on Schedule A/B 55, the Debtors have
not included leases and contracts on Schedule A/B. Leases and contracts are listed on Schedule
G.

       Schedule A/B 2. Petty cash represents cash on hand at restaurant locations including
       “register” cash.

       Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3 as
       of the open of business on October 18, 2017. Details with respect to the Debtors’ cash
       management system and bank accounts are provided in the Debtors’ cash management
       motion filed on the Petition Date. See [Docket No. 12].

       Schedule A/B 11. Accounts receivable do not include intercompany receivables, which
       are listed on Schedule AB 77.

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       Schedules A/B 15. Ownership interests in subsidiaries have been listed in Schedules
       A/B 15 as an undetermined amount because the fair market value of such ownership is
       dependent on numerous variables and factors and likely differs significantly from their
       net book value.

       Schedule A/B 55. The Debtors do not own any real property. The Debtors have listed
       their real property leases in Schedule A/B 55. The Debtors’ leasehold
       interests/improvements appear on Schedule A/B 55.

       Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may have
       accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds, or
       potential warranty Claims against their suppliers. Additionally, certain of the Debtors
       may be a party to pending litigation in which the Debtors have asserted, or may assert,
       Claims as a plaintiff or counter-Claims as a defendant. Because such Claims are
       unknown to the Debtors and not quantifiable as of the Petition Date, they are not listed on
       Schedule AB 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated
       claim held by the Debtors in response to these questions shall not constitute a waiver,
       release, relinquishment, or forfeiture of such claim.

Schedule D. The Claims listed on Schedule D arose or were incurred on various dates; a
determination of the date upon which each Claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims listed
on Schedule D, however, were incurred before the Petition Date.

Reference to the applicable loan agreements and related documents or other instrument creating
the purported lien is necessary for a complete description of the collateral and the nature, extent,
and priority of liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. Except as specifically
stated on Schedule D, real property lessors, utility companies, and other parties that may hold
security deposits have not been listed on Schedule D. Nothing herein shall be construed as an
admission by the Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify such Claim or contract.

Moreover, the Debtors have not included on Schedule D parties that may believe their Claims are
secured through setoff rights, letters of credit, surety bonds, or statutory lien rights.

Schedule E/F part 2. The Debtors have used reasonable efforts to report all general unsecured
Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’ books and records
as of the Petition Date.

Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date
for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F part 2
may have been aggregated by unique creditor name and remit to address and may include several
dates of incurrence for the aggregate balance listed.

Schedule E/F part 2 contains information regarding pending litigation involving the Debtors. The
dollar amount of potential Claims associated with any such pending litigation is listed as
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“undetermined” and marked as contingent, unliquidated, and disputed in the Schedules and
Statements. Some of the litigation Claims listed on Schedule E//F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 also includes
potential or threatened litigation claims. Any information contained in Schedule E/F part 2 with
respect to such potential litigation shall not be a binding admission or representation of the any
Debtor’s liability with respect to any of the potential suits and proceedings included therein. The
Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to pending
litigation listed in the Debtors’ Statement 7, as contingent, unliquidated, and disputed claims, to
the extent not already listed on Schedule E/F part 2. Finally, where litigation has been threatened
or commenced against more than one Debtor, the Debtors may have scheduled those creditors
under Mac Acquisition LLC, which is the primary operating company among the Debtors.

Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of executory contracts or unexpired leases.
Additionally, Schedule E/F part 2 does not include potential rejection damage Claims, if any, of
the counterparties to executory contracts and unexpired leases that may be rejected, except where
a judgment has been rendered.

Schedule G. Certain information, such as the contact information of the counter-party, may not
be included where such information could not be obtained using the Debtors’ reasonable efforts.
Listing or omitting a contract or agreement on Schedule G does not constitute an admission that
such contract or agreement is or is not an executory contract or unexpired lease was in effect on
the Petition Date or is valid or enforceable. Certain of the leases and contracts listed on
Schedule G may contain certain renewal options, guarantees of payment, indemnifications,
options to purchase, rights of first refusal and other miscellaneous rights. Such rights, powers,
duties and obligations are not set forth separately on Schedule G.

Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. In some cases, the same
supplier or provider appears multiple times on Schedule G. Multiple listings may not reflect
distinct contracts between the applicable Debtor and such supplier or provider but, instead, a
series of documents comprising a single contract. The Debtors expressly reserve their rights to
challenge whether such related materials constitute an executory contract, a single contract or
agreement or multiple, severable or separate contracts.

The contracts, agreements, and leases listed on Schedule G may have expired or terminated prior
to the Petition Date. The Debtors reserve their rights to argue that any of the contracts,
agreements, and leases listed on Schedule G expired or terminated prior to the Petition Date.
Additionally, some of the contracts, agreements, and leases listed on Schedule G may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
identify such documents. Further, unless otherwise specified on Schedule G, each executory

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contract or unexpired lease listed thereon shall include all exhibits, schedules, riders,
modifications, declarations, amendments, supplements, attachments, restatements, or other
agreements made directly or indirectly by any agreement, instrument, or other document that in
any manner affects such executory contract or unexpired lease, without respect to whether such
agreement, instrument, or other document is listed thereon.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance, and attornment agreements,
supplemental agreements, settlement agreements, amendments/letter agreements, title
agreements and confidentiality agreements. Such documents may not be set forth on Schedule
G. Certain of the executory agreements may not have been memorialized and could be subject to
dispute. Executory agreements that are oral in nature have not been included on the Schedule G.

Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. Any
listing of a Debtor on Schedule H is subject to the characterization of the underlying obligations
made by such Debtor on its owns Schedules. The Debtors may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements.

In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
may assert cross-Claims and counter-Claims against other parties. Because the Debtors have
treated all such Claims as contingent, disputed, or unliquidated, such Claims may not have been
set forth individually on Schedule H. Litigation matters can be found on each Debtor’s Schedule
E/F part 2 and Statement 7, as applicable.

                Specific Disclosures with Respect to the Debtors’ Statements

Statement 3. Statement 3 for Mac Acquisition LLC includes any disbursement or other transfer
made by or on behalf of all the Debtors within 90 days before the Petition Date except for those
made to insiders (which payments appear in response to Statement 4), made as part of regular
and ordinary course payroll disbursements, and bankruptcy professionals (which payments
appear in Statement 11 and include any retainers paid to bankruptcy professionals). The
amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check level
detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one entry
has been listed on Statement 3.

Statement 4. With respect to individuals, the amounts listed reflect the universe of payments
and transfers made specifically to or for the benefit of such individuals, including their regular
compensation, as well as any bonuses, expense reimbursements, severance payments and/or
relocation reimbursement. However, amounts paid on behalf of such employees for generally
applicable employee benefit programs has not been included.

The Debtors have included a single entry for all amounts made over the twelve months preceding
the Petition Date for each insider.


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Statement 5. Statement 5 excludes goods returned in the ordinary course of business. The
restaurant furniture, fixtures and equipment reported in Statement 5 is all property in closed
locations that the landlord obtained possession of in connection with the store closure. The value
is unknown.

Statement 7. Information provided in Statement 7 may not include every administrative agency
proceeding open or closed during the relevant time period, as certain agency proceedings are
quickly dismissed or settled for a nominal sum. Additionally, any information contained in
Statement 7 shall not be a binding representation of the Debtors’ liabilities with respect to any of
the suits and proceedings identified therein.

Statement 10. The Debtors occasionally incur losses for a variety of reasons, including theft
and property damage. The Debtors, however, may not have records of all such losses if such
losses do not have a material impact on the Debtors’ businesses or are not reported for insurance
purposes. The losses listed on Statement 10 are based on the estimated amounts currently owed
and are not intended to be an admission of the amounts owed. Further, Mac Parent LLC is the
“named insured” under substantially all of the Debtors’ insurance policies. Accordingly, losses
that are covered by insurance are listed under Mac Parent LLC even though they may relate to
assets owned by (and income recognized by) other Debtors, primarily Mac Acquisition LLC, the
primary asset-owning Debtor.

Statement 11. Out of an abundance of caution, the Debtors have included payments to all
professionals who have rendered any advice related the Debtors’ bankruptcy proceedings in
Statement 11. However, it is possible that the disclosed fees also relate to other, non-bankruptcy
related services and may include services rendered to other parties.

Statement 26d. The Debtors have provided financial statements in the ordinary course of their
businesses to various financial institutions, creditors, landlords, and other parties within two
years immediately before the Petition Date. Considering the number of such recipients and the
possibility that such information may have been shared with parties without the Debtors’
knowledge or consent or subject to confidentiality agreements, the Debtors have not disclosed
any parties that may have received such financial statements for the purposes of Statement 26d.




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